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                      IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF SOUTH CAROLINA

                                    COLUMBIA DIVISION



 The South Carolina State Conference of the
 NAACP and Taiwan Scott,                                Civil Action No. 3:21-cv-03302-JMC

                       Plaintiffs
                                                           NOTICE OF APPEARANCE
                vs.

 Henry D. McMaster, et al.

                       Defendants.

       The undersigned hereby notifies and advises this Court of his appearance in the above

captioned matter as counsel on behalf of the Defendants Howard Knapp in his official capacity

as Interim Executive Director of the South Carolina Election Commission, and John Wells,

JoAnne Day, Clifford J. Edler, Linda McCall and Scott Moseley in their official capacities as

members of the South Carolina State Election Commission.

                                              Respectfully submitted,

                                              By: s/Thomas Wells Nicholson
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                                                  Wells, JoAnne Day, Clifford J. Edler, Linda
                                                  McCall and Scott Moseley.

December 10, 2021
Columbia, South Carolina
